                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 BLUEWATER MUSIC SERVICES                       )
 CORPORATION, et al.,                           )
      Plaintiff(s)                              )
                                                )
 v.                                             )       Case No. 3:17-1051
                                                )       Judge McCalla /Frensley
 SPOTIFY USA INC.,                              )
       Defendant(s)                             )


 ROBERT GAUDIO, et al.                          )
      Plaintiff(s)                              )
                                                )
 v.                                             )       Case No. 3:17-1052
                                                )       Judge McCalla / Frensley
    SPOTIFY USA INC.,                           )
          Defendant(s)                          )



    A4V DIGITAL, INC., et al.                   )
          Plaintiff(s)                          )
                                                )
    v.                                          )       Case No. 3:17-1256
                                                )       Judge McCalla / Frensley
    SPOTIFY USA INC.,                           )
          Defendant(s)                          )


                             INITIAL CASE MANAGEMENT ORDER

            Pursuant to Local Rule 16.01(d)(1) (and Doc. No. 50; Case 3:17-cv-01051) the following

Initial Case Management Order is adopted:

            1.     Jurisdiction: Plaintiffs allege that this Court has subject matter jurisdiction

pursuant to 28 U.S.C. §§ 1331 and 1338(a). However, as set forth in Defendant’s Motions to

Dismiss for Lack of Standing (Dkt. 46 in the Bluewater case; Dkt. 26 in the A4V case),

Defendant disputes Plaintiffs (1) have met the necessary preconditions for filing suit under 17
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U.S.C. § 411 (requiring an issued registration prior to filing suit) and (2) have standing to bring

claims of infringement of the works-in-suit. Plaintiffs contend that such arguments are baseless

and address a limited number of the musical compositions at issue. By agreement of the parties,

Plaintiffs’ oppositions to those motions are due January 15, 2018, and Defendant’s replies are

due January 29, 2018.

       2.      Plaintiffs’ theory of the case: This is an action brought by Plaintiffs Bluewater

Music Services Corporation and Bluewater Music Corporation (hereinafter collectively

“Bluewater” or “Plaintiffs”) against Defendant Spotify USA Inc. (“Spotify” or “Defendant”) for

willful copyright infringement under the United States Copyright Act and Copyright Revision

Act of 1976 (17 U.S.C. § 101 et seq.). This case is simple. Entities must obtain and maintain

certain licenses in order to lawfully exploit musical compositions, such as the musical

compositions at issue. In this case, this clearly did not happen.

       Spotify is an interactive music streaming service (among other business services) that

allows its users to access and enjoy its catalog of musical recordings using its downloadable

application and web-based platform. Bluewater is an independent music publisher that

collectively owns or administers the copyrights of the Infringed Works listed on Exhibit A of the

Complaint, all of which have either been duly registered or are pending registration with the

United States Copyright Office.

       Spotify distributes phonorecords embodying musical compositions to its end users

through its interactive streaming service. It also allows users to download musical compositions

to store for offline use. Spotify does not have a license to display, reproduce, and/or distribute

the Infringed Works through its interactive streaming service due to either not procuring an

appropriate license as required, or due to losing any license it may have had by not complying



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with the law and applicable requirements when placed on notice and asked to do so.

Specifically, Plaintiffs allege Spotify reproduced, distributed, and otherwise made available the

musical compositions at issue without the required mechanical licenses. It is clear that

mechanical licenses are required to engage in the process of interactive streaming. The music

industry has reached a consensus on this topic and Spotify themselves has stated the same.

       To operate the Spotify Service, Spotify needs to secure multiple rights from multiple

copyright owners. These rights include, among others, the right to reproduce sound recordings

and the musical works embodied therein, the right to distribute sound recordings and the musical

works embodied therein, and the right to publicly perform sound recordings and the musical

works embodied therein by means of digital audio transmissions. Spotify’s unlicensed

reproduction and distribution of musical compositions constitutes copyright infringement. By

knowingly reproducing and distributing musical compositions without the licenses necessary to

legally reproduce and distribute the music, Spotify has been and is willfully infringing upon the

copyrights in the musical compositions at issue.

       Plaintiffs are entitled to statutory damages up to $150,000.00 (or actual damages) for

each of the 2,142 musical compositions at issue that were reproduced and/or distributed by

Defendant without obtaining and maintaining the required mechanical licenses. Should the

evidence show that Defendant reproduced and/or distributed each of the 2,142 musical

compositions at issue without obtaining and maintaining the required mechanical licenses,

Defendant is liable for over $300 million in statutory damages for its willful copyright

infringement.

       Bluewater owns and/or administers each of the musical compositions identified           in

Exhibit A to the Amended Complaint. Bluewater has standing to bring this action for copyright



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infringement because of its ownership interest in the musical compositions and/or because the

respective administration agreements with the owners of the musical compositions at issue grant

Bluewater exclusive rights under Section 106 of the United States Copyright Act as well as the

right to grant nonexclusive licenses to other parties. Plaintiffs have standing to pursue claims of

copyright infringement against anyone exploiting any of the compositions it owns or administers.

As the administrator and/or owner of the Infringed Works, Bluewater is entitled to full relief

pursuant to the United States Copyright Act.

        Defendant has also repeatedly stated that it reserves all rights to request a change of

venue under 28 U.S.C. § 1404. Plaintiffs will oppose any such motion. Plaintiffs contend the

appropriateness of venue is evidenced in Plaintiffs’ Complaint, and will provide additional bases

should Defendant so move.

        Plaintiffs contend that Defendant has filed several frivolous and meritless motions in an

attempt to delay discovery and actually answer the allegations in this Complaints. Defendant has

filed motions, withdrawn them and re-filed substantially similar motions. They have already

sought expedited discovery related to standing, which was denied by this Court. (Doc. No. 27).

Although the Court mentioned that limiting discovery could possibly be a topic at the Rule 26(f)

conference, the standing issue is a red herring and not based on case law or factual support.

There is no legal or factual justification for limiting discovery especially after Defendants’ delay

tactics and attempts to limit Plaintiff’s access to full discovery.

        Defendant has asserted that it will not agree to consolidation for discovery purposes

unless Plaintiffs agree to its extreme proposal to limit discovery in these cases. Plaintiffs

contend it has been Defendant’s motive to waste Plaintiff’s resources by having to respond to

these frivolous motions and delay the proceedings. Plaintiffs believe discovery must commence



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immediately and there must be full discovery wherein Spotify answers discovery as to each and

every musical composition at issue. Plaintiffs cannot agree to such extreme limitations of

discovery. For example, it may be necessary for Plaintiffs to submit requests for admission for

each and every musical composition at issue to determine when the compositions streamed on

Spotify. Plaintiff cannot agree to these extreme measures that will limit discovery and cause

further delay.

       3.        Defendant’s theory of the case: Plaintiffs are alleged opt-out parties in the

settlement reached between a class of alleged copyright owners and Spotify in Ferrick et al. v.

Spotify USA, Inc. et al., Case No. 1:16-cv-08412-AJN, pending in the United States District

Court for the Southern District of New York. Apparently unsatisfied with the amount of the

class settlement, Plaintiffs filed this lawsuit a few weeks prior to the opt-out deadline in an

attempt to encourage other class members to opt out as well and leverage a larger settlement.

       Contrary to Plaintiffs’ attempt to vilify Spotify by comparing it to “primitive illegal file

sharing companies” and making it out to be an outlaw or pirate preying upon the music industry,

Spotify is a legitimate, licensed streaming company. Established in 2006 and officially launched

in the United States in July 2011, Spotify currently does business in 61 countries, and has over

30,000,000 licensed sound recordings available to stream. It has paid over $6 billion in royalties

to copyright owners. Spotify now has more than 140 million global monthly active users,

including 70 million paying subscribers. And it has licensing deals with a large number of

copyright owners, including global licensing partnerships with the major record labels Sony

Music Entertainment, Universal Music Group, and Warner Music Group.

       The evidence in this case will show that Spotify’s business practices and technology bear

no resemblance to piratical and unlawful peer-to-peer networks. In fact, far from committing



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piracy, Spotify is a major force in driving music sales and keeping piracy under control. By

offering access to a very large licensed library of content, available for streaming on demand,

Spotify makes music available at a price and in a format that people like. The millions of people

who get their music legitimately via Spotify have no incentive to pirate it. Plaintiffs’ claims are

simply without merit.

        Spotify categorically rejects Plaintiffs’ characterization of these cases to date. In fact,

Plaintiffs have had to backtrack and tailor their claims to address the pleading inadequacies that

Spotify has identified. But even those revised allegations are insufficient to cure Plaintiffs’

standing problems, as detailed in Spotify’s pending motions. Rather, it is Plaintiffs who would

impose undue burden by forcing Spotify to conduct discovery on compositions for which

Plaintiffs have demonstrably failed to allege standing to sue. As a matter of law and for the

“just, speedy, and inexpensive determination” of this action, as Fed.R.Civ.P. 1 requires,

Plaintiffs’ standing is the threshold issue.

        Plaintiffs likewise mischaracterize Spotify’s position on consolidation. Spotify

recognizes that consolidation could achieve efficiencies by making discovery served on Spotify

usable by all Plaintiffs across the four actions. Spotify also recognizes that having these cases on

a coordinated schedule could make their management easier for the Court. Spotify was willing

to agree to Plaintiffs’ consolidation request so long as Plaintiffs accepted Spotify’s modification

of the schedule and agreed to limit discovery to reflect the fact that the burdens of discovery fall

disproportionately on Spotify. Plaintiffs have largely agreed on the schedule, but insist on vastly

inflated discovery limits for their discovery to Spotify. In exchange for agreeing to

consolidation, Spotify should see some efficiencies and limits in the discovery served upon it,

because the information it produces about its business, processes, procedures, and the like will be



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used across all of the consolidated cases. The same is not true in the other direction, where

Spotify will have to take individualized discovery of each plaintiff, and does not expect (as

currently informed) that one plaintiff’s discovery will be usable against another. That is why

Spotify believes that the discovery limits should not be one-size-fits-all.

       4.      Identification of the issues. No issues have been resolved at this time. While

the parties are unable at this time to anticipate the full scope of the legal issues that may arise in

this action, some legal issues that may arise, among others, include:

            a. Whether Plaintiffs have standing;

            b. Whether Plaintiffs have obtained the necessary precondition of a United States

               Copyright Registration for the works-in-suit prior to filing their Complaints;

            c. Whether this Court is the proper and/or most convenient forum for the parties;

            d. Whether Spotify reproduced and/or distributed the works-in-suit;

            e. Whether Spotify obtained and maintained mechanical licenses for the works-in-

               suit;

            f. Whether any of Spotify’s conduct that Plaintiffs allege to be infringing is non-

               infringing fair use under 17 U.S.C. § 107;

            g. If Spotify is found to have infringed any of the works-in-suit, whether Spotify’s

               infringement was willful;

            h. If Spotify is found to have infringed any of the works-in-suit, the amount of

               damages recoverable, if any, under the Copyright Act;

            i. If Spotify is found to have infringed any of the works-in-suit, whether Plaintiffs

               will elect statutory damages;




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             j. If Spotify is found to have infringed any of the works-in-suit and Plaintiffs do not

                elect statutory damages, what amount of Defendant’s recoverable profits are

                attributable to the alleged infringement;

             k. If Spotify is found to have infringed any of the works-in-suit and Plaintiffs do not

                elect statutory damages, whether Plaintiffs are entitled to any portion of

                Defendant’s profits attributable to the alleged infringement from sales outside of

                the United States based on the “predicate act” exception;

             l. Whether either party will be entitled to its attorneys’ fees and expenses as a

                prevailing party in this case; and

             m. Other issues that may arise during the course of this action.

       5.       Need for other claims or special issues under Rules 13-15, 17-21, and Rule 23

of the Federal Rules of Civil Procedure: The parties do not expect the need for any other

special issues under Rules 13-15, 17-21 and Rule 23 of the Federal Rules of Civil Procedure.

The parties reserve the right to assert any rights under the Rules as the need may arise.

       6.       Witnesses: The full extent of witnesses known in this case is not yet available

and will be timely supplemented by each party.

       7.       Discovery:

       (a)      Initial disclosures: The parties shall exchange initial disclosures pursuant to

Fed.R.Civ.P. 26(a)(1) within 30 days from entry of the Initial Case Management Order.

       (b)      Staging of discovery:

       Discovery is stayed pending Judge McCalla’s ruling on pending dispositive motions,

with exception to: Defendants shall respond to outstanding discovery by February 19, 2018;

and the parties are allowed to conduct limited discovery on the issue of Standing.


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               (c)     Consolidation of discovery: The Court consolidates the following cases for

      purposes of discovery only;

                  i.   Bluewater Music Services Corporation and Bluewater Music Corporation v.

                       Spotify USA, Inc.; Case No. 3:17-cv-01051;

                 ii.   Robert Gaudio; The Four Seasons Partnership v. Spotify USA, Inc.; Case No.

                       3:17-cv-01052;

                iii.   A4V Digital, Inc., et al. v. Spotify USA, Inc.; Case No. 3:17-cv-01256; and

                iv.    Robertson, et al., v. Spotify USA Inc., Case No. 3:17-cv-01616.1,2


(d)   Fact Discovery Cutoff and Limits:

               Fact discovery in the consolidated actions, including all document production, written

      discovery, and fact witness depositions, shall conclude by February 15, 2019. All discovery-

      related motions shall be filed by no later than March 15, 2019. No motions concerning

      discovery are to be filed until after lead counsel have spoken in a good faith effort to resolve

      any dispute(s).     Prior to filing any discovery-related motion, the parties will schedule and

      conduct a telephone conference with the Magistrate Judge. The counsel requesting the

      conference shall confirm opposing counsel’s availability before setting a time certain with the

      Court.

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               The Robertson case, filed on December 29, 2017, is currently assigned to Judge McCalla
      and Magistrate Judge Holmes. Should the Court agree in principle to the parties’ consolidation
      proposal regarding the three earlier-filed cases (Bluewater, Gaudio, and A4V), Plaintiffs’ counsel
      will file the appropriate notices to have the Robertson case assigned to Magistrate Judge Frensley
      as related to the three earlier-filed cases. The parties also agree that given the very recent filing of
      the Robertson case, discovery and initial disclosures in that case will commence following
      Spotify’s response to the complaint.

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             Plaintiffs reserve the right to address whether consolidation for trial of some or all of the
      cases would be proper based on the interests of judicial economy and efficiency. Spotify
      reserves all of its rights to address this issue, if and when later raised.
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Discovery Limits:

Pending further ruling of the Court, both parties are limited to 12 depositions. The number of

interrogatories is increased to 100 per side. Requests for Admissions and Production of

Documents are not limited at this time.

         (e)    Expert Discovery

        Plaintiffs shall identify and disclose all expert witnesses and expert reports on or before

March 15, 2019. Defendant shall identify and disclose all expert witnesses and reports, including

any rebuttal expert reports, on or before May 1, 2019. Expert depositions shall conclude by

July 1, 2019.

        8.      Dispositive motions: The deadline for the filing of dispositive motions shall be

August 2, 2019. Responses to dispositive motions shall be filed within 28 days after the filing

of the motion. Briefs or memoranda of law in support of or in opposition to a dispositive

motion shall not exceed 25 pages. Optional replies may be filed within 14 days after the filing

of the response and shall not exceed 10 pages, absent Court permission for a longer pleading.

If the parties consent to longer pleadings, the parties shall file a Joint Motion setting out the

requested page limits. If dispositive motions are filed before the July 1, 2019 deadline, the

response and reply dates are moved up accordingly.

        9.      Any motions to amend or to add parties shall be filed by no later than June 1,

2018.

        10.     Motions to seal: The parties anticipate timely submitting a joint stipulated

protective order to the Court. Per this Court’s instruction, any party requesting that documents

or portions of documents be sealed must demonstrate compelling reasons to seal the documents




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and that the sealing is narrowly tailored to those reasons. The motion to seal, even if unopposed,

must “analyze in detail, document by document, the propriety of secrecy, providing reasons and

legal citations.” Beauchamp v. Federal Home Loan Mortgage Co., No. 15-6067, 2016 WL

3671629 at *4-5 (6th Cir. Jul. 11 2016) (quoting Shane Grp., Inc. v. Blue Cross 4 Blue Shield of

Michigan, Nos. 15-1544, 1551, 1552, 2016 WL 3163073 at *3 (6th Cir. June 7, 2016)).

Protective orders should not provide that documents produced in discovery and designated as

“confidential” will automatically be sealed upon filing or use at trial. Any such language in a

proposed protective order will be stricken and may result in denial of the motion to enter the

protective order.

        11.      Modification of case management order: Any motion to modify the case

management order or any case management deadline shall be filed at least seven days before the

earliest affected deadline. The motion must include a statement confirming that counsel for the

moving party has discussed the requested modification or extension with opposing counsel and

whether there is any objection to the motion. The motion (even if a joint motion) must also

include: (i) all deadlines, even unaffected deadlines, so that it will not be necessary for the Court

to review previous case management orders in consideration of the motion, and (ii) a statement

that the requested extension will still conform to the requirements of Local Rule 16.01(d)(2)(f)

that no dispositive motion, including response and replies, be filed later than 90 days in advance

of the target trial date.

        12.      E-Discovery: The parties anticipate reaching an agreement on how to conduct

electronic discovery and shall timely submit a stipulation on the agreement to the Court.

Administrative Order No. 174, therefore, no longer applies to this case.




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        13.    Alternative dispute resolution: The parties will make, at least, two good faith

attempts to resolve the case. The first attempt to resolve the case, which shall consist of informal

discussions between counsel as to potentially appropriate alternative dispute mechanisms, shall

occur by May 15, 2018. The parties will also discuss the appropriateness of alternative dispute

resolution at the end of discovery and at other times throughout litigation if events provide

opportunity to discuss potential alternative dispute resolution. The parties will make another

good faith attempt to resolve the case, which shall consist of informal discussions between

counsel as to potentially appropriate alternative dispute mechanisms, before the deadline for

filing dispositive motions, July 1, 2019.

        14.    Consent to trial before the Magistrate Judge: The parties do not consent to

trial before the Magistrate Judge.

        15.    Subsequent case management conferences: A subsequent case management

conference shall be held on June 12, 2018, at 11:00 am, by telephone, to address: status of

discovery (including any discovery issues or disputes); prospect for settlement (including

propriety of ADR); and any other appropriate matters. Defendant shall initiate the call to the

Court. 16.     Target trial date: These cases are to be tried by separate juries. Plaintiffs

anticipate the trial for each individual matter will take approximately 8-10 trial days. Defendant

anticipates the trial for each matter will take approximately 5 trial days. The first trial date will

be January 13, 2010.

        It is so ORDERED.




                                                Magistrate Judge Frensley




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